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The following constitutes the ruling of the court and has the force and effect therein described.


Signed March 2, 2021
                                            United States Bankruptcy Judge
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

     IN RE:                                             §                CHAPTER 11
                                                        §
     NATIONAL RIFLE ASSOCIATION                         §                CASE NO. 21-30085-hdh11
     OF AMERICA and SEA GIRT LLC,                       §
                                                        §
             DEBTORS1                                   §                Jointly Administered


        ORDER AUTHORIZING THE EMPLOYMENT OF COLLIERS INTERNATIONAL
                AS THE DEBTORS’ REAL ESTATE BROKER

             There came on to be heard the Application for Order Authorizing the Employment of

     Colliers International as the Debtors’ Real Estate Broker [Docket No.115] (the “Motion to

     Employ Colliers”), pursuant to §§ 327(a) and 328(a) of the Bankruptcy Code and Bankruptcy

     Rules 2014(a) and 2016(b), all as more fully set forth in the Application and the Declaration of

     Jay Kyle in support of the Application; and the Court having subject matter jurisdiction to

     consider the Application and the relief requested therein under 28 U.S.C. §1334; and
     1
       The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
     Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
     _____________________________________________________________________________________________
     ORDER AUTHORIZING THE EMPLOYMENT OF COLLIERS INTERNATIONAL
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consideration of the Application and the relief requested therein being a core proceeding under

28 U.S.C. §157(b); and venue being proper before this Court under 28 U.S.C. §§1408 and 1409;

and due and proper notice of the Application having been provided and no other further notice

need be provided; and the relief requested in the Application being in the best interests of the

Debtors and their estates and creditors; and the Court having reviewed the Application and

having heard the statements in support of the relief requested therein at a hearing before the

Court (the “Hearing”); and the Court having determined that the legal and factual basis set forth

in the Application and at the Hearing establish just cause for the relief granted herein; and upon

all of the proceedings had before the Court; and after due deliberation and sufficient cause

appearing thereof, IT IS

           ORDERED, ADJUDGED AND DECREED that:

           1.   The Application is, in all respects, granted.

           2.   The Debtors are authorized to retain and compensate Colliers International as the

Debtors’ real estate broker, pursuant to the Application and the Agreement attached thereto.

                                   # # # END OF ORDER # # #




_____________________________________________________________________________________________
ORDER AUTHORIZING THE EMPLOYMENT OF COLLIERS INTERNATIONAL
AS THE DEBTORS’ REAL ESTATE BROKER -- Page 2 of 2



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